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UNITED STATES DISTRICT COURT
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TONY Fl. MOO‘FRE, CLEHK
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S/r
UNITED STATES OF AMERICA CRIMINAL NO.: 17-CR-221-01

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VERSUS * DISTRICT JUDGE HICKS
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HERLIN JEOVANNI PORTILLO-GOMEZ MAGISTRATE JUDGE HORNSBY

CONSENT TO PLEAD BEFORE
UNITED STATES MAGISTRATE JUDGE IN A FELONY CASE AND
WAIVER OF OBJECTION T() REPORT AND RECOMMENDATION

The above-captioned United States Magistrate Judge has explained to me the
nature of the offense(s) With Which l am charged and the maximum possible penalties
that might be imposed if l plead guilty. l have been informed of my right to the
assistance of legal counsel and of my right to plead before a United States District
Judge.

l hereby Waive (give up) my right to enter my plea before a United States
District Judge and consent to entering my plea before the United States Magistrate
Judge, Who Will provide a report and recommendation to the District Judge.

l understand that the District Judge must accept and approve my guilty plea
and the plea agreement and Will adjudicate guilt. If approved, l understand that l
Will be sentenced by the United States District Judge.

l understand that pursuant to 28 U.S.C. § 636, the parties are entitled to a
fourteen (14) day period Within Which to file Written objections to the report and

recommendation l hereby Waive (give up) the fourteen (14) day objection period so

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that the District Judge may immediately adopt the report and recommendation,

thereby accepting my guilty plea, and set a sentencing date.

 

 

 
     

    

 

 

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Herlin Jeovanm Portillo-Gomez
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